2024 North Hi Mount Boulevard Se
Milwaukee, WI 53208 er te
November 30, 2022 “

Honorable Lynn Adelman, District Judge 1022 NOY 30 A Io: 5]
U.S. District Court, Eastern District of Wisconsin

517 E. Wisconsin Ave. Room 362 cote we EET
Milwaukee, WI 53202 .
November 30, 2022

RE: Civil Action No. 22-cv-1285

Dear Judge Adelman:

We neighbors have been named as defendants in the above-captioned case.

Given that we were served just prior to the Thanksgiving Hcliday with the December Holiday
Season approaching, and, given that it is quite time-consuming for pro-se defendants to figure
out how to respond to a rambling, sometimes incoherent document that demands we all be jailed
but cites only a procedural statute (28 U.S.C. 1331), we hereby request a 30-day extension to

respond to this case.

Thank you kindly for your attention to this matter.

Sincerely,

Charles Dee Anne Landre

2024 N. Hi Mount Blvd. 4N. mn Blvd.
o oy

Ma ie BA Ae
Jack Boblick Betty & Carl Nilssen
2032 N. Hi Mount Blvd. Beil) ON. pve Bly ADIN
F

  

(e144 bet) es

Ryan & Sara Janacek Mathew & Ne Loss

2013 N. Hi Mount Blvd. 6428 W. Washington Blvd.
Wauwatosa, WI 53213

ee

ah

 

[OVER]

Case 2:22-cv-01285-LA Filed 11/30/22 Page 1of2 Document 6
iM jie Js t ae ys

Darrel & Barbara J a
1930 N. Hi Mount Blvd.

NOTE: Unless stated otherwise, all addresses are in Milwaukee, WI 53208

Case 2:22-cv-01285-LA Filed 11/30/22 Page 2 of 2 Document 6
